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Bo er Defense Case #01905754

Case Information

School Enrollment Period

SOUTH UNIVERSITY - Online (SAVANNAH, (01/01/2010 - 01/01/20:
GA)

A] Webform Submission - Case Num...

application | 0.02 MB

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